Case 6:18-cv-00602-CEM-KRS Document1 Filed 04/18/18 Page 1 of 5 PagelD 1

FILED

UNITED STATES DISTRICT COUR, wipe
MIDDLE DISTRICT OF FLORIDAL IAPR 18. Pit12: 58

    

CASE.NO: cE iSbracd hols
KELVIN GOMEZ, Gi l8~ woot Ul~ KAS
Plaintiff,
¥.
ACORN STAIRLIFTS, INC.,
Defendant. : /

 

NOTICE OF AND PETITION FOR REMOVAL

Defendant; ACORN STAIRLIFTS, INC. ("Defendant"), through its undersigned counsel
and pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, hereby removes this action currently pending:
in the Circuit Court of the Ninth Judicial Circuit in and for Orange County, Florida, to.the United
States. District Court for the: Middle District of Florida, The removal ofthis action is based upon
the following:

1. Gn or about March 7, 2018, Plaintiff, Kelvin Gomez: ("Plaintiff"), filed his
Complaint in the Circuit Court of the Ninth Judicial. Circuit in and for Orange County, Florida,
captioned as: Kelvin Gomez’. Acorn Stairlifts, Inc., LLC,Case'No, 2018-CA-002416-O, Division:
33 (the "State Action"). A éopy of the State Action was served on Defendant, .on. March 19, 2018.
This constituted Defendant's first legal notice of the’State Action for purposes of renioving the.
State Action to this Cowt. An Order Granting Defendant's Motion for Extension of Time to.
Respond to Plaintiff's Complaint until April 23,.2018.

2. A true and corréct copy of Plaintiff's Complaint, Sumnions to the Defendant,
Defendant's Motion for Extension of Time, and Unopposed Order Granting Defendant's Motion
for Extension of Time to Resporid to Plaintiff's Complaint ate attached hereto ‘as Exhibit "A" and

LEGAL35] 6499911.
Case 6:18-cv-00602-CEM-KRS Document1 Filed 04/18/18 Page 2 of 5 PagelD 2

incorporated herein by refefence pursuant to Fedetal Rule of Civil Procedure 10(c). No other
process, pleadings. or orders.have been setved upon Deféndant:.

3. Plaintiffs six-count Complaint seeks damages for alleged unpaid overtime
compensation under the Fair Labor Standards Act of 1938 ("FLSA"), 29 U,S.C. § 201, et seq. [See:
Complaint at {J 35-44.

4. Any civil case filed in a:state court may be removed by.a defendant to federal court
if the.case could have been brought originally in federal court, 28 U.S.C. § 1441(a): see, eg.,
Lawson v. Garcia-Lawson, 398 Fed, Appx. 572, 572-73 (11th Cir. Oct. 6, 2010); Cogdell v.
Wyeth, 366 F.3d 1245, 1248 (11th Cir. 2004); Joseph v. Nichell's Caribbean Cuisine, Inc., 862
F: Supp. 2d 1309,1311(S.D. Fla. 2012).

5. ‘Unider federal question jurisdiction, the United States district-courts "have original
jurisdiction over all civil actions arising under the Constitution, treaties or laws of the United
States." See 28 U.S.C. § 1331. Because this‘action arises under federal Jaw, district courts have:
original jurisdiction pursuant to 28-U.S.C. § 1331. See Breuer v. Jim's Concrete of Brevard, Inc..,.
538 U.S. 691, 694 (2003) (“The FLSA provides that an-action ‘may be maintdinéd . . . in any
Federal or State court of competent jurisdiction’ .. . and the district courts would in-any event have.
Original jurisiliction aver FLSA claims under 28 U.S.C. §: 1331.”) Indeed; the United States
Supreme Court has specifically ruled'tlat an action brought under the Fair Labor Standards Act,
once started in state court, is emovable‘to. federal court. Jd.

6. This Notice of Renioval is filed within thirty (30)-days after the date on which
Defendant first received notice of the State Action. See 28 U.S.C. § 1446(b). Defendant filed a
motion for extension of titrie to respond: to the complaint but has not filed-any. responsive pleadings
in said matter,

7. For the reasons stated above, this action is removable.to this Court pursuant to the

provisions of 28 U.§,C. § 1441.

LEGALI35 1649991]
Case 6:18-cv-00602-CEM-KRS Document1 Filed 04/18/18 Page 3 of 5 PagelD 3

8. Defendant has, simultaneously with the filing of this Notice of and Petition for
Removal, giving written notice of the filing to Plaintiff as required by 28 U.S.C. § 1446(d).

9. A copy of this Notice of and Petition for Removal has simultaneously been filed
with the Clerk of the Circuit Court of the Ninth Judicial Circuit in and for Orange County, Florida,
as required by 28 U.S.C. § 1446(d).

10. Venue is proper in the Middle District of Florida in that the State Court action is
pending within the jurisdictional confines of this district.

WHEREFORE, Defendant, ACORN STAIRLIFTS, INC., hereby removes this case to
the United States District Court for the Middle District of Florida.

Date: April 17, 2018 mitted,

Fa) Tieouhes

Susan N. Eisenberg
Florida Bar No. 600393
seisenberg@cozen.com
Cozen O'Connor

200 S. Biscayne Blvd.
Suite 3000

Miami, Fla. 33131
Telephone:305-704-5944
Facsimile: 305-704-5955

LEGAL'351 6499911
Case 6:18-cv-00602-CEM-KRS Document1 Filed 04/18/18 Page 4 of 5 PagelD 4

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on April 17, 2018. I electronically filed the foregoing with the
Clerk of the Court by using the CM/ECF system. I also certify that the foregoing document is
being served this day on all counsel of record identified on the attached Service List in the manner
specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in some

other authorized manner for those counsel or parties who are not authorized to receive

electronically Notices of Electronic Filing.
Jr Ly wet tk,

Susan N. Eisenberg

LEGAL\35164999\1
Case 6:18-cv-00602-CEM-KRS Document1 Filed 04/18/18

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

Kelvin Gomez v. Acorn Stairlifts, Inc.

Case No:

SERVICE LIST

Page 5 of 5 PagelD 5

 

Peter M. Hoogerwoerd, Esq.
pmh@rgpattornevs.com
Nathaly Lewis, Esq.
nl@rgpattorneys.com
Michelle Muskus, Esq.
mm@rgpattornevs.com
Remer & Georges-Pierre, PLLC
44 West Flagler Street

Suite 2200

Miami, Florida 33130
Telephone: (305) 416-5000
Facsimile: (305) 416-5005
Counsel for Plaintiff

Served via CM/ECF

Susan N. Eisenberg
Florida Bar No. 600393

seisenberg(@cozen.com
Cozen O'Connor

200 S. Biscayne Blvd.
Suite 3000

Miami, Fla. 33131
Telephone: (305) 704-5944
Facsimile: (305) 704-5955
Counsel for Defendant

Served via CM/ECF

LEGAL\35 164999\}
